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 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                           CASE NO. 1:02-CR-05408 - AWI - 1

10                                Plaintiff,             ORDER DENYING DEFENDANT’S SECOND
                                                         MOTION PURSUANT TO TITLE 18 U.S.C.
11                          v.                           § 3582(c)(2)

12   MARCO ANTONIO NEGRETE-SAENZ,                        (Doc. 421)

13                                Defendant.

14

15          The defendant has filed a second motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

16 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revises the Drug Quantity

17 Table in USSG § 2D1.1 and reduces by two levels the offense level applicable to many drug trafficking

18 offenses. The Government has opposed the motion on the basis that the defendant remains ineligible for

19 a reduction under U.S.S.G. § 1B1.10. The Court denied Defendant’s previous motion on that basis. It

20 explained that the quantity of methamphetamine involved in the transaction, approximately 15.5

21 kilograms, is not a drug quantity that falls into a lower sentencing level bracket by operation of

22 Amendment 782. Nothing has changed. Defendant remains ineligible for a sentence reduction.

23 Accordingly, Defendant’s motion pursuant to Section 3582 is DENIED.

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     IT IS SO ORDERED.
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     Dated: December 6, 2017
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                                                 SENIOR DISTRICT JUDGE
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